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            IN THE UNITED STATES DISTRICT COURT
   FOR THE DISTRICT OF WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                  Master Docket: No. 21-mc-1230-JFC
 BI-LEVEL PAP, AND
 MECHANICAL VENTILATOR                          MDL No. 3014
 PRODUCTS LITIGATION

 This Order Relates to: All Actions

    SPECIAL MASTER REPORT AND RECOMMENDATION ON
DEFENDANTS POLYMER TECHNOLOGIES AND POLYMER MOLDED
PRODUCTS, LLC’S MOTION TO DISMISS AMENDED MASTER LONG
FORM COMPLAINT FOR PERSONAL INJURIES AND DAMAGES AND
 CONSOLIDATED SECOND AMENDED CLASS ACTION COMPLAINT
                FOR MEDICAL MONITORING

  I.    INTRODUCTION
        Pending in this multi-district litigation arising from the production and sale of

certain breathing assistance devices is Defendants Polymer Technologies and

Polymer Molded Products’ (collectively, “PolyTech”) Motion to Dismiss the

Amended Master Long Form Complaint for Personal Injuries and Damages

(“PIAC”) and Consolidated Second Amended Class Action Complaint for Medical

Monitoring (“MMSAC”) pursuant to Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6). (ECF No. 1341.) PolyTech asserts this Court lacks jurisdiction to hear

Plaintiffs’ claims because PolyTech’s contacts with the forum are insufficient to

confer jurisdiction and because PolyTech’s status as a component parts manufacturer

insulates it from liability. Id. PolyTech also contends that Plaintiffs’ claims are

barred by the statute of limitations. Plaintiffs vigorously contest these assertions.
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The motion has been fully briefed, with Plaintiffs having filed a Brief in Opposition

on March 7, 2023 and PolyTech having filed a reply brief on April 20, 2023. Opp.

Br. (ECF No. 1640); Repl. Br. (ECF No. 1816). Oral argument on the motion was

heard on July 11, 2023. See Or. Arg. J. 11 (ECF No. 2130). This decision will

address the issues presented in the Motion in the same order the parties addressed

them in the briefing, with the first issue being personal jurisdiction.

    II.   SPECIFIC JURISDICTION
          Because the parties agree that personal jurisdiction over PolyTech cannot be

based on general jurisdiction principles, this Report will analyze only the parties’

arguments regarding specific jurisdiction.1 Relying primarily on Intl. Shoe Co. v.

State of Wash., Off. of Unempl. Compen. and Placement, 326 U.S. 310 (1945); and

Daimler AG v. Baumann, 571 U.S. 117 (2014), PolyTech contends that its activities

within Pennsylvania are not sufficiently “continuous and systematic” to establish

jurisdiction and do not give rise to the conduct at issue in this claim. Supp. Br. (ECF

No. 1342) at 18. Borrowing the analysis from Burger King v. Rudzewicz, 471 U.S.

462, 472 (1985), requiring a defendant to “purposefully direct [its] activities at

residents of the forum” to establish specific jurisdiction, PolyTech asserts that its



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 In their Brief in Opposition to PolyTech’s Motion to Dismiss, Plaintiffs do not
argue that the Court has general jurisdiction over PolyTech. Opp. Br. (ECF No.
1640) at 14, n.16. Thus, the question presented focuses only on specific
jurisdiction.
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contacts with Pennsylvania cannot meet this standard because PolyTech does not

direct its efforts at individual consumers in its business-to-business model.

PolyTech otherwise avers that Plaintiffs have failed to allege that PolyTech has

“purposefully directed its activities at residents of the forum or availed itself of the

forum’s markets.” Id. PolyTech asserts that it could not have anticipated being

named as a defendant in the Western District of Pennsylvania and requiring it to

defend itself in this Court would result in “exorbitant travel expenses, unavailability

of evidence, and drains on judicial resources.” Id.

         In response, Plaintiffs assert that PolyTech’s efforts to solicit business from

current and prospective customers in Pennsylvania and its shipments of PE-PUR

foam to Pennsylvania are sufficient to establish specific jurisdiction. Opp. Br. (ECF

No. 1640) at 15. Further, Plaintiffs assert that under the second prong of the specific

jurisdiction test, PolyTech’s activities in Pennsylvania are directly related to

PolyTech’s shipping of the PE-PUR foam into Pennsylvania. Id. at 18.

    A review of the pleadings demonstrates that PolyTech has had sufficient contacts

with Pennsylvania to justify this Court’s exercise of specific jurisdiction. In this

regard, United Dairy, Inc. v. Bayshore Indus., LLC, which Plaintiffs rely on, is

informative on the proper approach to specific jurisdiction in instances, such as here,

where the defendant’s contacts with the jurisdiction are primarily via phone and

email and made for the purpose of soliciting business. No. 14-1644, 2015 WL

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5311297 at *9. Just as PolyTech asserts here, the defendants in United Dairy

claimed that sales telephone calls and emails were insufficient to establish specific

jurisdiction. Id. at *3. There, Judge Conti, relying on the Third Circuit case Grand

Entertainment Group, Ltd. v. Star Media Sales, Inc., 988 F.2d 476, 483 (3d Cir.

1993), recognized that a defendant’s contacts with the forum need not be in a specific

form to demonstrate jurisdiction so long as those contacts are “purposefully directed

. . . at residents of the forum and the litigation results from the alleged injuries that

arose out of those activities.” Id. (citing BP Chemicals Ltd. v. Formosa Chem. &

Fibre Corp., 229 F.3d 254, 259 (3d Cir. 2000).). Even “a single contact with a forum

can be sufficient to create a required connection.” Id. (citing BP Chemicals Ltd. v.

Formosa Chem. & Fibre Corp., 229 F.3d 254, 259 (3d Cir. 2000); Grand

Entertainment Group, Ltd. v. Star Media Sales, Inc., 988 F.2d 476, 483 (3d Cir.

1993)).

        Further, relatively few communications can subject a defendant to the forum’s

jurisdiction. See Grand Entertainment Group, Ltd. 988 F.2d at 483 (holding twelve

communications directed at forum are sufficient to demonstrate that defendants have

purposefully availed themselves of the forum); O’Connor v. Fischbein, No. 09-4931,

2010 WL 1053220 at *4 (E.D. Pa. 2010) (holding five letters and one phone call

were sufficient contacts to establish specific jurisdiction); Toussant v. Williams, 62



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F. Supp. 417, 425 (E.D. Pa. 2014) (finding one email sufficient to establish minimum

contacts where defendant knew recipient resided in Pennsylvania).

        By its own admission in its Motion, PolyTech has solicited individuals for

business in Pennsylvania. Supp. Br. (ECF No. 1342) at 9. In its brief, PolyTech

admits “[b]usiness has been solicited in Pennsylvania.” Id.         PolyTech further

supports this admission by including the Affidavit of Robert Prybutok as an exhibit

to its brief.       Mr. Prybutok admits PolyTech has solicited business in “. . .

Pennsylvania . . . through visitation by employees and agents to business customers

and prospective business customers.” Supp. Br. (ECF No. 1342) at 9. Thus,

PolyTech’s own admissions demonstrate that it has made purposeful contacts with

Pennsylvania. Further, Plaintiffs specifically demonstrate that PolyTech made at

least a dozen email and phone calls for the purpose of soliciting Philips’

Pennsylvania-based employees to purchase its foam. See PIAC (ECF No. 835-35)

at Ex. 83; PIAC (ECF No. 835-50) at Ex. 98.               Due to the nature of these

communications, to specifically request a Pennsylvania entity to purchase goods, the

contacts were sufficiently intentional to establish jurisdiction. This is the type of

sales and negotiation-based communications that the courts in United Dairy and

Grand Entertainment Group, Ltd. found were concerted efforts directed at the

market of a forum sufficient to establish jurisdiction.



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        As to the second prong of the specific jurisdiction test, Plaintiffs have shown

that the litigation arises out of PolyTech’s purposeful contacts with Pennsylvania.

To satisfy the second prong of the test, a plaintiff must demonstrate that without the

defendant’s acts, the question giving rise to the litigation would not have occurred.

Colvin v. Van Wormer Resorts, Inc., 417 F. App’x. 183, 187 (3d Cir. 2011) (noting

the inquiry is “fact-sensitive” and “should hew closely to the reciprocity principle

upon which specific jurisdiction rests.”). Here, Plaintiffs have clearly demonstrated

that they would not be bringing this claim but for PolyTech’s supplying of foam

products to Philips for use in the Recalled Devices. Email communications attached

to the Complaints are evidence that PolyTech supplied foam to Philips.2 Thus,

construing all allegations in the light most favorable to Plaintiffs, PolyTech

participated in activities in Pennsylvania that amount to a quid pro quo - showing

that PolyTech should have reasonably anticipated that its shipments of PE-PUR

foam to Pennsylvania could give rise to a claim there.

        Finally, PolyTech offers no evidence that it would suffer a substantial burden

by defending itself in this Court. PolyTech has provided no evidence of “exorbitant

travel expenses, unavailability of evidence, drains on judicial resources or

countervailing state interests” sufficient to find a burden. Pennzoil Products Co. v.

Colelli & Associates, Inc., 149 F.3d 197, 208 (3d Cir. 1998). Further, as Plaintiffs


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    See PIAC (ECF No. 835-35) at Ex. 83 and PIAC (ECF No. 835-50) at Ex. 98.
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note, Delaware’s proximity to Pennsylvania weighs against a finding of

unreasonable burden. O’Connor v. Sandy Lane Hotel Co., Ltd., 496 F.3d 312, 323

(3d Cir. 2007).

        Thus, the exercise of specific jurisdiction over the PolyTech defendants would

be reasonable and it will be recommended that PolyTech’s motion to dismiss on

jurisdictional grounds be denied.

III.    COMPONENT PARTS DOCTRINE
        PolyTech asserts that it cannot be held liable for injuries associated with the

CPAP, Bi-Pap, and ventilator devices because it did not exercise sufficient control

over the incorporation of the PE-PUR foam into the devices. Supp. Br. (ECF No.

1342) at 22. Accordingly, invoking the component parts doctrine, PolyTech asserts

that it cannot be held liable for merely providing the PE-PUR foam. Id.

        In response, Plaintiffs assert that PolyTech’s involvement in choosing the PE-

PUR foam for use in the devices falls within an exception to the component part

doctrine. Opp. Br. (ECF No. 1640) at 22. Specifically, Plaintiffs assert PolyTech

modified the foam for use in the devices by applying an adhesive glue to the foam,

amounting to substantial participation in the integration of the foam for use in the

devices that exposes PolyTech to liability. Id.; See also MMSAC (ECF No. 815) at

¶¶ 259-61. Relying on the Third Circuit’s analysis in Suchomajcz v. Hummel Chem.

Co., Newark, New Jersey, 524 F.2d 19, 26 (3d Cir. 1975), Plaintiffs further assert

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that PolyTech’s knowledge of the risk of degradation of the PE-PUR foam in the

devices demonstrates that PolyTech should be held liable for Plaintiffs’ injuries.

Opp. Br. (ECF No. 1640) at 23. Finally, Plaintiffs assert that the applicability of the

component parts doctrine should not be determined at the motion to dismiss stage

but should be determined on a more complete factual record. Id. at 24-25.3

        Plaintiffs rely on a number of cases demonstrating that a determination of the

applicability of the component parts doctrine should be completed on a full record,

rather than the pleadings. Id.; See Suchomajcz, 524 F.2d at 26 (reviewing

applicability of doctrine to trial court’s grant of summary judgment on fully

developed factual record); Gray v. Derderian, 365 F.Supp.2d 218, 239 (D.R.I. 2005)

(in polyurethane foam case, noting prior courts addressing adjacent bulk supplier

doctrine deferred determination of applicability to after discovery and determining

discovery was required to assess extent of alterations of foam by distributor). Case


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 Plaintiffs assert that several jurisdictions do not adopt the doctrine. A review of
law of Arizona, Illinois, Indiana, and Maine laws demonstrates Plaintiffs correctly
assert they do not adopt the doctrine. See Rocky Mountain Fire and Cas. Co. v.
Biddulph Oldsmobile, 640 p.2d (Az. 1982) (holding manufacturers of component
parts are strictly liable); Woods v. Graham Engineering Corp., 183 Ill. App. 337
(App. Ct. Ill. 1989) (holding component part manufacturer may be found strictly
liable for injuries attributable to component); Brewer v. PACCAR, Inc., 124 N.E.3d
616 (Ind. 2019); Burns v. Architectural Doors and Windows, 19 A.3d 823, 827
(Me. 2011). However, the Florida Supreme Court recently limited the case in
which it recognized the doctrine. Aubin v. Union Carbide Corp., 177 So.3d 489,
519 (Fl. 2015) (disapproving of appellate court’s adoption of Restatement in
Kohler v. Marcotte, 907 So.2d 596 (Fl. Ct. App. 2005).
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law from the District Courts of this Circuit and other Circuits demonstrates that

courts determine the applicability of the doctrine on a fully developed record. See

Cohen v. Subaru of America, Inc., No. 1:20-cv-09442-JHR-AMD, 2022 WL 714795

at *10 (D.N.J. March 10, 2022) (denying motion to dismiss claim against

manufacturer under component parts doctrine where plaintiff alleged product was

defective and pled facts to explain why product was defective); Smith v. Robin

America, Inc., 484 Fed. Appx. 908, 915 (5th Cir. 2012) (assessing applicability of

component parts doctrine on fully developed summary judgment record).

        While PolyTech asserts that the doctrine bars Plaintiffs’ claims because

Plaintiffs have failed to plead facts demonstrating that Polytech “researched,

designed, developed, manufactured, tested or sold the Recalled Devices,” this

assertion suggests too narrow a standard regarding what conduct establishes the

liability of a component parts manufacturer. Supp. Br. (ECF No. 1342) at 22. The

RESTATEMENT (THIRD) OF TORTS: PRODS LIAB. §5 recognizes that the mere

facilitation of information and advice regarding the type of component parts to be

used in a product, alone, is insufficient to demonstrate a component manufacturer’s

liability. However, Comment e to §5 recognizes that playing a “substantial role in

deciding which component best serves the requirements of the integrated product”

can establish liability on the part of the component part manufacturer. RESTATEMENT

(THIRD) OF TORTS: PRODS LIAB., §5 cmt. e. (1998). Further, if the advice offered by

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the component manufacturer relates to the processing of the component part and this

advice contributes to the allegedly defective condition of the integrated product, the

component part manufacturer can be liable. Id., cmt. f.            Thus, a component

manufacturer can be held liable for lesser participation in the integration of the

component part than PolyTech asserts.

        Plaintiffs have alleged sufficient facts to demonstrate that this issue should be

determined on a fully developed record. In the Personal Injury Complaint, Plaintiffs

specifically allege that PolyTech “manufactured, treated, and processed the PE-PUR

foam, by among other things, applying an adhesive backing and an acoustic lining

to the foam.” See PIAC (ECF No. 834) at ¶ 70. Similarly, in the Medical Monitoring

Complaint, Plaintiffs allege that representatives from PolyTech were consulted

regarding the decision on which foam to use and played a hands-on role in

determining what foam Philips should use in the devices. MMSAC (ECF No. 815)

at ¶ 260. Although PolyTech asserts it played no role in incorporating the PE-PUR

foam into the devices, the emails between PolyTech representatives and Philips

representatives raise an inference that PolyTech was involved from the beginning

stages in designing the devices. See MMSAC (ECF No. 815) at ¶ 270; MMSAC Ex.

98 (ECF No. 811-50) (Philips representative Vincent Testa noting “Over the past

few years you’ve [sic] helped me with technical questions regarding your foam.”).

However, the extent of PolyTech’s involvement in the implementation is not clear

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from the pleadings in the Personal Injury Complaint. Nevertheless, the pleadings

sufficiently establish that PolyTech played the role of intermediary between Philips

and Burnett Foam Company, entitling Plaintiffs to discovery to determine the full

extent of PolyTech’s involvement in the incorporation of the foam into the devices.

Id.

        Discovery is necessary to determine both PolyTech’s involvement with the

integration of the PE-PUR foam into the devices and PolyTech’s knowledge of the

dangers associated with the use of the PE-PUR foam in the devices. Application of

the component parts doctrine to PolyTech’s liability would be premature at this

stage. Should discovery reveal that PolyTech had no greater involvement in the

incorporation of the foam into the devices beyond answering technical questions,

PolyTech can reassert this defense at the summary judgment stage. It will be

recommended that PolyTech’s motion to dismiss on the grounds of the component

parts doctrine accordingly be denied but may be reasserted following discovery.

IV.     SUFFICIENCY OF PLEADINGS

        PolyTech further alleges that Plaintiffs’ claims are insufficient because

PolyTech is one of two intermediaries who could have provided the foam to Philips

for inclusion in the Recalled Devices. Supp. Br. (ECF No. 1342) at 23. Relying on

Kester v. Zimmer Holdings, Inc., No. 2:10-cv-00523, 2010 WL 2696467 (W.D. Pa.,

June 16, 2010), PolyTech appears to assert that Plaintiffs speculate that PolyTech is

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the source of the PE-PUR foam that caused Plaintiffs’ injuries without adequately

identifying whether it or Soundcoat provided the foam contained in the Recalled

Devices. Id. at *24. Put simply, PolyTech asserts Plaintiffs have failed to plead

PolyTech caused their injuries under the standards established in Twombly and Iqbal.

Id.

        Plaintiffs have satisfied the pleading standard articulated in Connelly v. Lane

Const. Corp., 809 F.3d 780, 789 (3d Cir. 2016). That is, Plaintiffs have raised a

reasonable expectation that discovery will reveal evidence that PolyTech sold the

foam used in certain devices. PIAC (ECF No. 834) at ¶ 208. While PolyTech

correctly highlights that Plaintiffs acknowledge that the “PE-PUR foam that Philips

used in its Recalled Devices was manufactured by William T. Burnett & Co” before

being “sold to intermediaries like PolyTech and Soundcoat,” PolyTech fails to

acknowledge that Plaintiffs have specifically asserted claims against PolyTech based

on PolyTech’s involvement with Philips. Supp. Br. (ECF No. 1342) at 23. These

allegations differentiate these claims from the claims at issue in Kester v. Zimmer

Holdings, Inc., where the plaintiff failed to allege facts supporting plaintiffs’ use of

the defendant’s product. 2010 WL 2696467, at *22-23. In Paragraph 208 of the

Personal Injury Complaint, Plaintiffs incorporate the message of an email sent from

Philips representative Bob Marsh to PolyTech representative Bonnie Peterson where

Marsh writes: “We use the PAFS foam in the air path of the Trilogy family of

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ventilators.” PIAC (ECF No. 834) at ¶ 208. In that same paragraph, Plaintiffs state

that PAFS foam is “PolyTech’s open cell, flexible acoustic grade PE-PUR foam.”

Id. at ¶ 208.        Although the Trilogy ventilators are not included in the Recalled

Devices at issue in this matter, this evidence demonstrates Philips has previously

used PolyTech foam in its products. Thus, Plaintiffs have alleged that PolyTech

produced foam for use in at least some devices, making these claims more specific

than the claims at issue in Kester. Plaintiffs have pled sufficient facts about Philips’

use of PolyTech foam in similar devices to move to discovery to determine if the

foam used in the Recalled Devices was sold by PolyTech.              Thus, it will be

recommended that PolyTech’s motion to dismiss based upon the component parts

doctrine be denied.

 V.     STATUTE OF LIMITATIONS
        Finally, PolyTech asserts that Plaintiffs’ claims are untimely because,

calculating the statute of limitations from the date of the purchase of the component

part, the statute of limitations for a breach of contract claim has expired. Supp. Br.

(ECF No. 1342) at 24. Plaintiffs assert the statute of limitations was equitably tolled

under the discovery rule as interpreted by the Third Circuit in Schmidt v. Skolas and

Mest v. Cabot Corp. Opp. Br. (ECF No. 1640) at 27; 770 F.3d 241, 251 (3d Cir.

2014); 49 F.3d 502, 510 (3d Cir. 2006).




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        The Third Circuit has ruled that the statute of limitations “may not afford the

basis for a dismissal of the complaint under Rule 12(b)(6) where the time-bar is not

“apparent on the face of the complaint.” Barefoot Architect, Inc. v. Bunge, 632 F.3d

822, 835 (3d Cir. 2011) (quoting Bethel v. Jendoco Constr. Corp., 570 F.2d 1168,

1174 (3d Cir. 1978)); Robinson v. Johnson, 313 F.3d 128, 135 (3d Cir. 2002).

Notably, neither party discussed the applicability of each state’s approach to the

discovery rule. In support of its argument, PolyTech merely asserts that “There are

no states that have a statute of limitations of fifteen (15) years to bring a claim for

breach of contract.” Supp. Br. (ECF No. 1342) at 25.

        PolyTech has not shown that Plaintiffs’ claims are untimely. First, the

Complaints do not clearly reflect when the statute of limitations began to run. In the

Personal Injury Complaint, Plaintiffs aver several dates regarding the Defendants’

alleged fraudulent concealment, the Plaintiffs’ reports of degradation, and the recall

of the Devices. PIAC (ECF No. 834) at ¶ 168, 171, 175, 176, 249. Plaintiffs assert

that the statute of limitations generally “has been equitably tolled by Defendants’

fraudulent concealment and/or omissions of critical safety information.” PIAC

(ECF No. 834) at ¶ 305. Plaintiffs aver similar dates regarding Defendants’ notice

of the defect in the Medical Monitoring Complaint. See MMSAC (ECF No. 815) at

¶ 233, 236, 237, 243, 246, 251, 260, 311. At the end of these allegations, Plaintiffs

indicate that the statute of limitations should be calculated from the date of the recall

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because “[P]laintiffs did not have the technical, scientific, or medical knowledge and

information sufficient to ascertain the cause of their injury prior to learning of the

recall and the basis for the recall.” PIAC (ECF No. 834) at ¶ 307; MMSAC (ECF

No. 815) at ¶ 438. Further, absent evidence of specific allegations regarding each

Plaintiffs’ discovery of the degradation, the date of the recall appears to be the date

on which Plaintiffs would have been given actual notice regarding the alleged

injuries they have suffered. Under these circumstances, it will be recommended that

the Court reject PolyTech’s limitations defense at this stage of the case.

        Second, under the discovery rule which Plaintiffs assert governs a statute of

limitations determination, additional factual development is necessary to determine

whether Plaintiffs acted reasonably in ascertaining their risks of injury under

individual states’ laws. See Schmidt, 770 F.3d at 251 (interpreting Pennsylvania law)

(“‘In order to determine when the statute should begin to run, the finder of fact

focuses on whether the plaintiff was reasonably diligent in discovering his injury.’”).

While Plaintiffs gained actual knowledge regarding the risk of injury on the date of

the recall, at least some Plaintiffs may have been placed on constructive notice of an

injury before that date.                Plaintiffs assert that users of the Recalled Devices

complained to Philips about degradation of the foam “beginning in at least 2008.”

PIAC (ECF No. 834) at ¶ 168. Whether Plaintiffs submitted any of these complaints



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to Philips will determine whether they acted reasonably in the face of constructive

notice of their injuries and whether their claims are timely.

        Accordingly, because the running of the statute of limitations is not evident

on the face of the Complaints, the Complaints should not be dismissed for

untimeliness at this stage. Accordingly, it will be recommended that PolyTech’s

motion to dismiss be denied on these grounds, but PolyTech may revive its

limitations argument at the summary judgment stage if discovery reveals Plaintiffs

had actual notice of an actionable claim outside the limitations period.

VI.     CONCLUSION

        Defendant PolyTech’s motion to dismiss fails to demonstrate a justification

for the dismissal of Plaintiffs’ claims against PolyTech at this stage. Plaintiffs, and

PolyTech itself, have demonstrated that PolyTech had sufficient, purposeful contacts

with Pennsylvania to make the jurisdiction of this forum appropriate. PolyTech’s

arguments regarding the component parts doctrine similarly fail to show that

Plaintiffs’ claims against it should be dismissed prior to discovery. Finally, Plaintiffs

have demonstrated that their pleadings are legally sufficient and their claims cannot

be dismissed as time-barred now. Thus, it is recommended that PolyTech’s motion

to dismiss (ECF No. 1341) be denied. In accordance with Fed. R. Civ. P. 53(f)(2),




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objections to or requests for modification of this Report must be submitted within

twenty-one days of today.



     September 28, 2023                          /s/ Thomas I. Vanaskie
     Date                                        Hon. Thomas I. Vanaskie (Ret.)
                                                 Special Master




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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP,              Master Docket: No. 21-mc-1230-JFC
 BI-LEVEL PAP, AND
 MECHANICAL VENTILATOR                      MDL No. 3014
 PRODUCTS LITIGATION

 This Order Relates to All Cases            ORDER

RECOMMENDATION ON DEFENDANTS POLYMER TECHNOLOGIES
 AND POLYMER MOLDED PRODUCTS, LLC’S MOTION TO DISMISS
  AMENDED MASTER LONG FORM COMPLAINT FOR PERSONAL
INJURIES AND DAMAGES AND CONSOLIDATED SECOND AMENDED
  CLASS ACTION COMPLAINT FOR MEDICAL MONITORING FOR
  LACK OF PERSONAL JURISDICTION AND FAILURE TO STATE A
        CLAIM UPON WHICH RELIEF CAN BE GRANTED
        For the reasons provided in the attached report, it is hereby recommended that

Defendants Polymer Technologies and Polymer Molded Products, LLC’s Motion to

Dismiss the Amended Master Long Form Complaint for Personal Injuries and

Damages and Consolidated Second Amended Class Action Complaint for Medical

Monitoring (ECF No. 1341) be denied.

     September 28, 2023                             /s/ Thomas I. Vanaskie
     Date                                           Hon. Thomas I. Vanaskie (Ret.)
                                                    Special Master




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